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                              United States Bankruptcy Court
                                Eastern District of Virginia
                                    Alexandria Division

In re:

ISSAC K. AMANKWAH,                               Case No. 18-13848-bfk

         Debtor.                                 Chapter 7

         Withdrawal of Withdrawal of Motion to Dismiss, Docket No. 14

   TO: Issac K. Amankwah
       c/o Lois Ilaine Upton, Esq.
       7369 McWhorter Place, Suite 412
       Annandale, VA 22003
        E-Mail uptonbknotices@gmail,com

   TAKE NOTICE:

         The withdrawal of the motion of John P. Fitzgerald, III, Acting United

States Trustee for Region 4, to dismiss this case for abuse pursuant to Section

707(b) of the Bankruptcy Code is withdrawn.

April 8, 2019                                    John P. Fitzgerald, III
                                                 Acting United States Trustee
                                                 For Region 4

                                                 /s/ Jack Frankel
                                                 Jack Frankel, Attorney
                                                 Office of United States Trustee




Office of United States Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314
(703) 557-7229
E-mail: jack.i.frankel@usdoj.gov
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                              Certificate of Service

   I hereby certify that on the 8th day of April, 2019, this withdrawal of the
withdrawal of motion to dismiss was e-mailed to the attoney for the Debtor at her
e-mail address listed above.

                                            /s/ Jack Frankel
